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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE:                                                             Chapter 13 Proceeding
  Natacha Rios
                 Debtor(s)                                           16-14643 JKF

                                                 ORDER

   AND NOW, this 30th day of July , 2018, upon consideration of Citizens Bank of Pennsylvania’s
Certification of Default, it is hereby ORDERED AND DECREED that:
1. The Automatic Stay is terminated as to Citizens Bank of Pennsylvania and/or its successors and assigns
with regard to the property located at 583 Alcott Street, Philadelphia, PA 19120;
2. Citizens Bank of Pennsylvania may contact the Debtor directly to determine intent regarding the
property and/or to verify vacancy of the home; and
3. The relief granted by this order shall survive the conversion of this bankruptcy case to a case under any
other Chapter of the Bankruptcy Code.




                                                 BY THE COURT:


                                                 __________________________
                                                 United States Bankruptcy Judge
                                                 Jean F. FitzSimon


Interested Parties:
Mary F. Kennedy, Esquire
Attorney for Citizens Bank of Pennsylvania

Brad J. Sadek, Esquire
Debtors(s) Attorney

Frederick L. Reigle, Esquire
Trustee
